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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BEMCY, LLP,                               :
a Pennsylvania limited liability partnership, :
                                          CIVIL ACTION NO.:
                                          :
            Plaintiff,                    :
                                          :
                   v.                     :
                                          :
GILEAD SCIENCES, INC., and                :
INITIATIVE MEDIA, LLC                     :
                                          :
            Defendants.                   :
_______________________________________________________________________

                                              COMPLAINT

        Plaintiff, BEMCY, LLP (“BEMCY”), by its attorney, Arnold C. Joseph, Esq., for its

Complaint against Defendants, Gilead Sciences, Inc. (“Gilead”) and Initiative Media, LLC,

(“Initiative”) states as follows:

                                                   PARTIES

1.      BEMCY is a Pennsylvania limited liability partnership. BEMCY’s principal place of business is

in Philadelphia, Pennsylvania.

2.      Gilead is a California corporation with its principal place of business in Foster City,

California.

3.      Initiative is a Delaware limited liability company with its principal place of business at 100 West

33rd Street, 4th Floor, New York, NY 10001.

                                              JURISDICTION

4.               This Court has original jurisdiction over the subject matter of this case pursuant to 28

U.S.C. § 1332(a)(1) because it is a civil action where the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs, and is between citizens of different states.

                                                  VENUE


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5.     Venue is properly laid in this Court pursuant to 28 U.S.C. § 1391 (a) (2) because it is a

judicial district in which a substantial part of the events and omissions giving rise to Plaintiff’s

claim occurred.

                  FACTS COMMON TO ALL COUNTS AND DEFENDANTS

6.     At all times relevant hereto BEMCY was a producer of educational motion pictures,

television programs and docuseries focused on healthcare and life science.

7.     Upon information and belief, at all times relevant hereto Gilead was a pharmaceutical

corporation in the business of developing medicines for life-threatening illnesses.

8.     Upon information and belief, at all times relevant hereto Initiative was a communications

agency with its principal place of business located 100 West 33rd Street, 4th floor, New York,

New York 10001.

9.     In September of 2020 BEMCY and Gilead began negotiations which culminated in an

agreement in principle whereby Gilead agreed to become the primary title sponsor of an eight-

hour long episode documentary series with the working title of “40 Years of HIV”, which would

be produced by BEMCY (“the Program”).

       5.      By January of 2021, BEMCY and Gilead had fully negotiated the material terms of

their agreement with respect to the Program.

       6.      Upon information and belief, in or about January of 2021, Gilead retained the

services of Initiative to act as its agent with respect to the promulgation and execution of the

agreement which BEMCY ultimately entered with Gilead in relation to the Program.

       7.      On or about April 8, 2021, BEMCY and Gilead (through its agent Initiative) entered

into a written “Program Title Sponsorship Agreement” (“the Agreement”).                A copy of the

Agreement is attached hereto as Exhibit A.



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       8.         The following language of the Agreement’s preamble, Gilead was listed as the

principal on whose behalf Initiative was acting, and was identified as the “Company”, and

BEMCY was identified as the “Producer”:

                  This Program Sponsorship Agreement (the “Agreement”) is
                  entered into as of the last date of signature hereunder (the
                  “Effective Date”) by and between Initiative Media LLC
                  (“Agency”) as agent on behalf of its client Gilead Sciences, Inc.
                  (“Company") and BEMCY (“Producer”). This Agreement includes
                  this Cover Sheet, the Standard Terms and Conditions attached
                  hereto, and the attached Schedule(s).

       9.         The Agreement delineated the specific responsibilities with respect to the

production of the Program and the grant of certain sponsorship rights to Gilead in the following

language of Paragraph 1.1:

       1. Sponsorship Benefits; Distribution; Exclusivity.
             1.1. Overview. In connection with the Program,
             Producer shall provide Company with the “title
             level” sponsorship benefits set forth on
             Schedule A (“Sponsorship Benefit(s)”).
             Producer covenants that (a) such
             “title level” of sponsorship shall be the highest
             level of sponsorship that Producer offers or
             provides in connection with the Program and
             (b) Producer shall not, directly or indirectly,
             offer or provide to any third party in connection
             with or related to the Program any sponsorship
             benefits that, in the aggregate, are more
             favorable to such third party than the
             Sponsorship Benefits are to Company may use
             and exploit the Sponsorship Benefits in any and
             all media, whether now known or hereafter
             developed, for any purpose contemplated by
             this Agreement, including, without limitation,
             for the purposes of advertising and promoting
             itself, the Program and its sponsorship thereof,
             and its products and services.

       10.        Paragraph 1.3 of the Agreement provided, in pertinent part, as follows with respect

to exclusivity:

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              1.3. Exclusivity. Producer shall not, in connection with the Program,
              enter into (or cause or permit any third party to enter into) any
              advertising, marketing, sponsorship, promotion, endorsement,
              preferred rate, affiliation, product or service integration or
              placement, or other similar agreement, whether written or oral,
              directly or indirectly, for any of the following (or with any third
              party that offers any of the following): any alternative HIV
              treatments (“Competitive Products ”). Without limiting the
              foregoing, no Competitive Product shall be featured or mentioned
              by name in the Program or in any advertising or promotion aired
              during, for or in connection with the Program. For the avoidance of
              doubt, the foregoing restriction shall prohibit Producer, WGN, any
              multichannel-video programming distributor, any OTT distributor,
              any other programming service airing or distributing the Program or
              any third party from selling or displaying, directly or indirectly, any
              advertising or promotion for any Competitive Product against,
              during, around or in connection with the Program.


       11.    Paragraph 2 of the Agreement provided as follows with respect to the payment of

the Sponsorship Fee by Gilead to BEMCY:

             2. Sponsorship Fees. The Agency on behalf of Company
             will pay in full to Producer the fees set forth on
             Schedule B (“Sponsorship Fees”). Producer shall
             invoice the Agency for such Sponsorship Fees in
             accordance with the schedule set forth on Schedule B
             and Agency, on behalf of the Company, shall pay the
             amounts set forth in such invoice(s) within sixty (60)
             days of receipt via wire transfer according to
             instructions provided to Agency by Producer. Producer
             acknowledges, agrees, and understands that the concept
             of sequential liability shall apply, whereby Agency shall
             not be liable Producer on any invoice unless funds in the
             full amount of such invoice theretofore have cleared
             from Company to Agency. Until such time when funds
             in the full amount of an invoice have cleared from
             Company to Agency, Company shall remain solely and
             fully liable to Producer for the payment of such invoice
       [Emphasis added]

       12.    Schedule “B” of the Agreement provided as follows with respect to the payment of

the Sponsorship Fee:



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                                    Sponsorship Fee
                              Sponsorship Fee Total: $2,000,000

               BEMCY shall invoice Two Million Dollars
               ($2,000,000 USD) upon the full execution of this
               Agreement. Agency on behalf of Company shall pay
               BEMCY within _60 days of receipt of invoice via
               wiring instructions provided with the invoice.

       13.     The vast majority of the Sponsorship Fee was intended to fund the Program.

Consequently, Gilead agreed to remit payment of the Sponsorship Fee to BEMCY early in the

process so that BEMCY would have the critically needed resources to produce the Program, the

first episode of which was scheduled to air in July of 2021.

       14.     Immediately upon the execution of the Agreement BEMCY, in reliance on the

promises and assurances made by Gilead in the Agreement, and on Paragraph 2 and Schedule B

of the Agreement, which required Gilead to remit payment to BEMCY within 60 days of the

receipt by Gilead of BEMCY’s invoice, BEMCY began undertaking those tasks necessary to

produce the Program.

       15.     In reliance on the promises and assurances made by Gilead in the Agreement,

BEMCY incurred substantial costs in connection with its efforts to produce the Program.

       16.     In reliance on the promises and assurances made by Gilead in the Agreement, and

pursuant to the restrictions placed upon it by Gilead through paragraph 1.3 of the Agreement,

BEMCY, to its detriment, did not seek or solicit sponsorship funds from any other entity for the

Project although BEMCY was aware of other entities who were ready, willing, and able to sponsor

the Program.

       17.     On April 30, 2021, pursuant to paragraph BEMCY invoiced Gilead for the full

amount of the $2 million sponsorship fee.




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        18.     Consequently, Gilead was contractually obligated to remit the full Sponsorship Fee

to BEMCY by no later than June 29, 2021, pursuant to paragraph 2 of the Agreement.

        19.     Upon information and belief Gilead did in fact transfer the Sponsorship Fee to

Initiative following BEMCY’s submission of the invoice, however Initiative failed to remit the

Sponsorship Fee to BEMCY and although Gilead was aware of Initiative’s failure to remit the Fee,

Gilead took no steps to cause the Sponsorship Fee to be remitted to BEMCY in accordance with

the Agreement.

        20.     Between May and June of 2021 Gilead and Initiative repeatedly represented to

BEMCY, that full payment of the Sponsorship Fee would be remitted to BEMCY within the 60-

day period under the Agreement, however upon information and belief, Gilead and Initiative made

these representations to BEMCY knowing that they were false or, alternatively, with reckless

disregard for their truth.

        21.     BEMCY relied on the foregoing representations and continued to take steps to

produce the Program and forewent opportunities to seek alternative sponsorship for the Program.

        22.     In or around May of 2021, Gilead and Initiative began trying to re-negotiate the

payment terms under the Agreement.

        23.     Although BEMCY was reasonable in trying to accommodate Gilead and Initiative’s

efforts to re-write the Agreement, Gilead insisted on smaller payments spread out over a long

period of time.     This was unacceptable to BEMCY because, as noted above, most of the

Sponsorship Fee was critically needed up front to fund the Program and BEMCY had begun to

expend its own funds to begin the Project in anticipation of receipt of the Sponsorship Fee.

        24.     To date, Gilead has failed to pay any of the sponsorship fee.




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        25.     Instead, on August 2, 2021 – after expressing another desire to renegotiate the

Agreement and after having received an offer from BEMCY containing a more generous payment

proposal – Gilead purported to terminate the Agreement without cause.

        26.     BEMCY fully and properly performed all obligations owed Gilead and Initiative

and performed all conditions precedent to filing this lawsuit.

        27.     Gilead breached the Agreement by failing to pay the required sponsorship fee.

Gilead also breached the Agreement by purporting to terminate it in bad faith.

        28.     Gilead’s breach of the Agreement and other misconduct described above have

caused damages to BEMCY in excess of $2 million, including the lost sponsorship fee, lost

opportunity costs, lost profits from the Program, and attorney fees.

        29.     Upon information and belief between April and July of 2021 Initiative, with full

knowledge of the existence of the Agreement and the obligations of Gilead thereunder, took

affirmative steps to harm the contractual relationship between Gilead and BECMY by refusing to

release the Sponsorship Fee to BEMCY after it received it and by convincing Gilead to withhold

payment of the Sponsorship Fee and to improperly terminate the Agreement after Gilead’s breach

        30.     Initiative’s aforementioned actions were outside of the scope of its employment and

were against the interests of Gilead.

        31.     As a direct consequence of Gilead’s breach and Initiative’s tortious interference

with BEMCY and Gilead’s contractual relationship BEMCY was forced to cancel the Program.

                                               COUNT I

                                    BREACH OF CONTRACT
                                      (BEMCY v GILEAD)
        32.     BEMCY incorporates by reference and re-alleges paragraphs 1 through 31 as though fully set

forth herein.

        33.     The Agreement constitutes a valid and enforceable contract between BEMCY and Gilead.

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        34.      One of the essential terms of the Agreement was Gilead’s agreement to remit payment in the

amount of Two Million Dollars ($2,000,000.00) to BEMCY within 60 days of the date on which BEMCY

presented Gilead with an invoice for that amount.

        35.      BEMCY fully and properly performed all obligations owed to Gilead, including, but not

limited to the presentation of the aforementioned invoice.

        36.      Gilead breached the Agreement by, among other things, failing to pay the Sponsorship Fee as

required by the Agreement and terminating the Agreement in bad faith.

        37.      Gilead’s breaches of the Agreement have damaged BEMCY in amounts that exceed

$2,000,000, plus interest, attorney fees and costs as allowed under the Agreement and applicable law.


        WHEREFORE, BEMCY respectfully requests that this Court enter judgment in its favor

and against Gilead in the amount to which it is found to be entitled, plus interest, costs, and attorney

fees as allowed by applicable law.

                                               COUNT II
                                                FRAUD
                                           (BEMCY v GILEAD)

        38.      BEMCY incorporates by reference and re-alleges paragraphs 1 through 37 as though fully set

forth herein.

        39.      Upon information and belief, at some time after entering the Agreement Gilead decided not

to honor its obligations under the Agreement. This can be inferred by Gilead’s actions after signing the

Agreement, including its repeated false representations that it was going to pay the full Sponsorship Fee.

        40.      Gilead knew that its representations were false when it made them or, alternatively, made them

with reckless disregard for their truth.

        41.      BEMCY reasonably relied on Gilead’s representations.

        42.      The fraud that Gilead perpetrated on BEMCY was willful and malicious and caused severe

damages to BEMCY.



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         WHEREFORE, BEMCY respectfully requests that this Court enter judgment in its favor and against

Gilead in the amount to which it is found to be entitled, plus punitive damages, interest, costs, and attorney fees

as allowed by applicable law.

                                        COUNT III
           TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
                               (BEMCY v INITIATIVE)
         43.  BEMCY incorporates by reference and re-alleges paragraphs 1 through 42 as though fully

set forth herein.

         44.        At all times relevant hereto Initiative was aware of the existence of the contractual

relationship between BEMCY and Gilead with respect to the Program.

         45.        Upon information and belief, after the Agreement was executed, Initiative took

purposeful actions specifically intended to harm the contractual relationship between BEMCY and

Gilead by, among other things, causing Gilead not to pay the Sponsorship Fee in accordance with

the terms of the Agreement, and causing Gilead to improperly terminate the Agreement.

         46.        The aforementioned actions of Initiative were neither privileged nor justified

insofar as Initiative’s aforementioned actions were outside of the scope of its employment and

were against the interests of Gilead.

         47.        BEMCY was harmed by Initiative’s interference insofar as BEMCY did not receive

the Sponsorship Fee, the benefits that were contemplated by its Agreement with Gilead, and

forewent opportunities to secure sponsorship money from other entities.

         WHEREFORE, BEMCY respectfully requests that this Court enter judgment in its favor and against

Gilead in the amount to which it is found to be entitled, plus punitive damages, interest, costs, and attorney fees

as allowed by applicable law.



                                                        Respectfully submitted,



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Dated: August 21, 2021                      By:                  _____________
                                             Arnold C. Joseph, Esquire
                                             Joseph & Associates
                                             1801 Market Street
                                             Suite 2500
                                             Philadelphia, Pa., 19103
                                             Attorney for Plaintiff



                                    JURY DEMAND

      BEMCY hereby demands a jury on all facts and issues so triable.




                                          Respectfully submitted,


Dated: August 21, 2021                   By:                     _____________
                                      Arnold C. Joseph, Esquire
                                             Joseph & Associates
                                             1801 Market Street
                                             Suite 2500
                                             Philadelphia, Pa., 19103
                                             Attorney for Plaintiff




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